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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

          Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

                  DEFENDANT/COUNTER-PLAINTIFF'S REPLY TO
          PLAINITFFS’/COUNTER-DEFENDANTS’ RESPONSE IN OPPOSITION
                       TO MOTION FOR ATTORNEYS’ FEES

          Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY ("Defendant"),

   by and through its undersigned counsel and pursuant to the Federal Rules of Civil

   Procedure and the Local Rules of the United States District Court for the Southern District

   of Florida, hereby files its Reply to the Response In Opposition to Defendant’s Motion for

   Attorney’s Fees filed by Plaintiffs/Counter-Defendants, AM GRAND COURT LAKES LLC

   and AM 280 SIERRA DRIVE LLC (collectively, “Plaintiffs”), and in support thereof, states

   as follows:

          1.     On November 1, 2019, the Court entered a Paperless Order to Show Cause

   [D.E. #133] directing the parties to appear and Show Cause on November 4, 2019 as to

   why they failed to comply with the Court's October 28, 2019 Pre-trial Order [D.E. #130].

          2.     On November 4, 2019, a Show Cause Hearing was held before Judge

   Kathleen M. Williams, during which the Court also considered Defendant’s then-pending
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   Expedited Motion to Compel Compliance with the Court's Orders (“Motion to Compel”)

   [D.E. #131].    See Transcript of November 4, 2019 Show Cause to Hearing [D.E. #232].

         3.       At the November 4, 2019 Show Cause Hearing, the Court:

                  a.    sanctioned Plaintiffs’ counsel, Font & Nelson, PLLC, verbally ruling

         that Font & Nelson, PLLC pay Defendant’s attorneys’ fees and costs associated

         with attendance at the hearing and filing the Motion to Compel because, in Judge

         Williams’ view, attorney Jose P. Font, Esq. had, throughout this case “flouted” the

         her prior orders as well of those of Judge Torres'; and,

                  b.    directed Lauren D. Levy, Esq. to “put together some type of voucher

         or however you wish to present it” as to Defendant’s fees, and to “submit that to

         Mr. Font and to the Court”.

   See [D.E. #232], page 20.

         4.       Although a “Paperless Minute Entry for proceedings held before Judge

   Kathleen M. Williams: Show Cause Hearing held on 11/4/2019” was docketed on

   November 4, 2019 [D.E. #138], as of the date of this Reply, no Order has issued relative

   to Defendant’s Motion to Compel [emphasis added].

         5.       As is evident from the Court’s verbal ruling at the November 4, 2019 Show

   Cause Hearing, attorneys’ fees were assessed by the Court sua sponte pursuant to Rule

   16 of the Federal Rules of Civil Procedure, governing Pretrial Conferences, Scheduling

   and Management, and consistent with the prayer for relief contained in Defendant’s

   Motion to Compel, which sought “such further relief this Honorable Court deems just and

   proper under the circumstances”. See [D.E. #131]; [D.E. #232].




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          6.     As instructed by the Court, on February 24, 2020, Defendant filed the

   Declaration of Lauren D. Levy, as to the fees incurred by Defendant in connection with

   the Motion to Compel and the Show Cause hearing in the amount $2,350.50 (the

   “Declaration”) [D.E. #225].

          7.     On April 30, 2020, Defendant filed its Motion for Attorney’s Fees pursuant

   to Rule 16 of the Federal Rules of Civil Procedure (the “Fee Motion”) [D.E. #233], asking

   the Court to enter an Order liquidating the attorney’s fees consistent with the Declaration,

   which had been previously-assessed against Plaintiffs as a sanction in connection with

   Defendant’s Motion to Compel [D.E. #131]. This Fee Motion was in no way a new / stand-

   alone motion for attorneys’ fees as contemplated by Local Rule 7.3, which narrowly

   applies to “a motion for an award of attorneys’ fees and/or non-taxable expenses and

   costs arising from the entry of a final judgment or order” [emphasis added]. See

   Local Rule 7.3(a).

          8.     On May 14, 2020, Plaintiffs filed their Response in Opposition to Motion for

   Attorney’s Fees (the “Response”), the gravamen of which is that the Fee Motion should

   be denied for Defendant’s failure to comply with Local Rule 7.3(a). See [D.E. #234].

          9.     However, for the reasons more particularly set forth herein, Local Rule

   7.3(a) is inapplicable to the relief sought by Defendant, and the Fee Motion should be

   granted.

          10.    Local Rule 7.3(a) provides, in relevant part:

                 Motions for Attorneys’ Fees and/or Non-Taxable Expenses and
                 Costs. This rule provides a mechanism to assist parties in
                 resolving attorneys fee and costs disputes by agreement. A
                 motion for an award of attorneys’ fees and/or non-taxable
                 expenses and costs arising from the entry of a final judgment
                 or order shall not be filed until a good faith effort to resolve the



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                  motion 1, as described in paragraph (b) below, has been
                  completed. The motion shall…

   See Rule 7.3(a), Local Rules of the United States District Court for the Southern District
   of Florida.

           11.    On its face, Local Rule 7.3 applies to Motions for Attorneys’ Fees “arising

   from the entry of a final judgment or order”. In the case at bar, as of the filing of this

   Reply, no final judgment or order has been entered relative to the relief requested by

   Defendant. Accordingly, Local Rule 7.3 does not serve to bar the relief requested by

   Defendant’s Fee Motion, as Plaintiffs would suggest.

           12.    In addition, the Court’s directive that defense counsel “put together some

   type of voucher or however you wish to present it”, see [D.E. #232], page 20, is clearly

   contrary to Plaintiffs’ contention that the Court intended for Defendant to comply with the

   extremely specific and detailed requirements of a motion and supporting documents filed

   under Local Rule 7.3.

           13.    In actuality, the sanctions sought by Defendant in the instant Fee Motion

   should be awarded, pursuant to Rule 16 of the Federal Rules of Civil Procedure,

   governing Pretrial Conferences, Scheduling and Management, which provides in relevant

   part:

                  (f) SANCTIONS.

                  (1) In General. On motion or on its own, the court may issue any
                  just orders, including those authorized by Rule 37(b)(2)(A)(ii)–
                  (vii), if a party or its attorney:

                  (A) fails to appear at a scheduling or other pretrial conference;



   1
    Although Defendant submits that Local Rule 7.3(a) does not apply to the Fee Motion, Defendant
   would show that, as certified in the Fee Motion, Defendant conferred with Plaintiffs in good faith,
   prior to filing same pursuant to Local Rule 7.1(a)(3).


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                 (B) is substantially unprepared to participate—or does not
                 participate in good faith—in the conference; or

                 (C) fails to obey a scheduling or other pretrial order.

                 (2) Imposing Fees and Costs. Instead of or in addition to any
                 other sanction, the court must order the party, its attorney, or
                 both to pay the reasonable expenses—including attorney’s
                 fees—incurred because of any noncompliance with this rule,
                 unless the noncompliance was substantially justified or other
                 circumstances make an award of expenses unjust.

          WHEREFORE,          Defendant/Counter-Plaintiff,      ROCKHILL         INSURANCE

   COMPANY, respectfully requests the entry of an Order granting its Motion for Attorney’s

   Fees and awarding any further relief deemed just and proper under the circumstances.

                                 CERTIFICATE OF SERVICE

          I hereby certify that on May 15, 2020, I electronically filed the foregoing document
   with the clerk of the Court using CM/ECF. I also certify that the foregoing document is
   being served via email this day to: Font & Nelson, PLLC, 200 S. Andrews Avenue, Suite
   501,       Fort       Lauderdale,         Florida      33301          (jfont@fontnelson.com;
   afriedman@fontnelson.com;         bfischer@fontnelson.com;         fnelson@fontnelson.com;
   gvega@fontnelson.com;            jproffitt@fontnelson.com;           jwilds@fontnelson.com;
   nkronen@fontnelson.com; pleadings@fontnelson.com); either via transmission of
   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
   for those counsel or parties who are not authorized to receive electronically Notices of
   Electronic filing.

                                             LEVY LAW GROUP

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